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         1                    UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
         2                          BEAUMONT DIVISION
         3
             UNITED STATES OF AMERICA            DOCKET NO. 1:16CR26
         4
                                                 APRIL 12, 2018
         5   VS .

         6                                       10:51 A.M.
             CHRISTOPHER CRAMER AND
         7   RICKY FACKRELL                      BEAUMONT, TEXAS

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         9
                           VOLUME 1 OF 1, PAGES 1 THROUGH 26
        10
                          REPORTER'S TRANSCRIPT OF EXCERPT OF
        11          VOIR DIRE EXAMINATION OF PROSPECTIVE JUROR 66
        12               BEFORE THE HONORABLE MARCIA A. CRONE
                              UNITED STATES DISTRICT JUDGE
        13
        14
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       16     TRANSCRIPT PRODUCED VIA COMPUTER-AIDED TRANSCRIPTION.

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                                                                                  4
        1                [OPEN COURT, DEFENDANTS PRESENT.]

        2                (Prospective Juror 66 enters the courtroom. )

        3                (Oath administered . )

        4                THE COURT: All right, Ms. Stanley. After

        5   answering your questions last week, are there any answers

        6 that you would want to change that you can think of at
        7 this ti e?
        8                PROSPECTIVE JUROR: No, ma'am.

        9                THE COURT: Very well. I'll hand it over to

       10   the 1awyers.

       11          VOIR DIRE EXAMINATION OF PROSPECTIVE JUROR 66
       12 BY MR. BARLOW:
       13   Q. Good morning, Ms. Stanley.

       14   A. Morning.

       15   Q. Hi. I'm Doug Barlow; and along with Mr. Black, we

       16   represent Mr. Cramer. We want to visit with you about

       17   some of your answers here and some general principles.

       18 Okay?
       19                Let's start out with Question No. 38. You

       20 answered that and told us that your husband was an MP in
       21 the mi 1itary?
       22   A. Yes, sir.

       23   Q. Okay. How long did he serve as an MP?

       24   A. That part, I'm not sure. We just -- we met after

       25 he retired from the military.

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                                                                                  5

         1   Q. Okay.

         2   A. And just recently got married. We have been

         3    arried about three years.

         4   Q. Okay.

         5   A. So, the particulars on the amount of time that he

         6   served as that duty, I'm not sure.

         7   0. Okay. Well, in cases like this, criminal cases, a

         8   lot of times there are law enforcement people who

         9 testify. Just by virtue of you knowing about your
        10   husband's service as a police officer, you wouldn't give

        11 any added credibility to someone who testified just
        12   because they're a police officer, would you?

        13   A. I don't feel that I would, no.

        14   Q. Okay. Some people believe that they're more

        15   believable just because they're a peace officer.

        16   A. Well --


        17   Q. Any problem -- tell me how you feel about that.

        18 A. I feel that they should be.
        19   Q. They should be. That's true.

        20   A. Yes.


        21   Q. But the law says that you have to judge each

        22   witness on an even plane and decide whether they're

        23 telling the truth or they're not telling the truth and it
        24 wouldn't be fair for a witness to come in and
        25   automatically have some added credibility --


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                                                                                  6
        1   A. True.

        2   Q. -- when you haven't even heard the evidence.

        3   A. Sure. Yes.

        4 Q. You agree with that?
        5   A. Yes, sir.

        6   Q. And Question No. 47 on page 9, you mentioned that

        7 you think the effectiveness of the cri inal justice
        8 system has been hampered by social media. Can you tell
        9 me a little more about that?
       10   A. Well, I'm a schoolteacher; and I've watched the

       11   children's attitudes change toward our criminal justice

       12   system, more or less. They think -- a lot of them think

       13   that the police are the bad guys, and that's how I -- I

       14 think a lot of that has to do with social media and the
       15   things they see and hear on social media.

       16 Q. Okay. Anything about that that would affect your
       17 jury service, though?
       18   A. No, sir.

       19   Q. Okay. Question No. 61, you told us about your

       20 prior jury service; and that kind of bothered you
       21   apparently, your service, about how that went down?

       22   A. A 1ittle bit, yes, sir.

       23 0. Tell me a little bit about that.
       24 A. Well, they picked a jury and they just walked
       25   us -- from what I remember, they just walked us by this


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                                                                                  7
         1   lady that was sitting in confinement and she was in a

         2 straight jacket and then sent us into a roo to decide
         3   whether or not she was competent and that seemed to be --

         4   I mean, it was hard to me to decide if someone is

         5   competent when you see them in that state.

         6   Q. How long ago was that?

         7   A. It's been years ago. I couldn't even tell you how

         8   long ago it was.

         9   Q. And where was that?

        10   A. In Jefferson, here.

        11   Q. Okay. Well, long ago you had to have a jury to

        12   determine competence; and it may have been an agreed

        13   thing.

        14   A. It seemed like it was already done.

        15 Q. And now they can waive a jury and have the judge
        16 make that determination, but it was just the way the
        17   system used to work. They had -- they may have a jury to

        18 do it and even though all sides agreed.
        19   A. Okay.

        20   Q. So, that may have been why that happened.

        21   A. Okay.

        22 Q. Let's talk about the death penalty issues a little
        23 bit, starting out with Question 73.
        24               You told us a lot in 72 about how you feel

        25 about the death penalty, but you indicated in 73 that you

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                                                                                  8
        1   don't have any opinion at all about -- either for or

        2 against the death penalty. Okay?
        3   A. Well, I read the other ones. Like A said it would

        4 make it difficult for me as a juror to reach a verdict of
        5 guilty or not guilty, and I didn't feel that that was --
        6    y opinion would ake it difficult.

        7                And then -- it was just a matter of

        8   elimination as I read them.

        9   Q. Okay. The next question, 74, you indicated the

       10 very top that said you feel strongly that it is i portant
       11   that we have the death penalty as punishment.

       12   A. Well, I think we need a penalty as strong as the

       13   death penalty.

       14   Q. Okay.

       15   A. I feel it should fit the crime sometimes.

       16   Q. Okay. Tell me a little bit           ore about your

       17 feelings about the death penalty, why we ought to have it
       18   and what purpose you think it serves.

       19   A. Well, I think when someone commits a crime that

       20   they're found guilty of, sometimes it -- the penalty

       21   should be the death penalty.

       22   Q. Okay.

       23   A. And I don't know -- I really -- before this I had

       24 never really given it a whole lot of thought.
       25   Q. Okay. Some people believe that -- kind of the old


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         1   "eye for an eye" theory, that if you take a life, you

         2 should forfeit your life; and other people believe the
         3 death penalty is something we really ought to use just as
         4   a last resort if there's nothing else we can do about an

         5   individual that's been convicted of capital murder,

         6               Do you see how there's those different

         7   extremes?

         8   A. Yes. I wouldn't say I'm really an "eye for an

         9   eye" because there are circumstances for murder -- you

        10   know, there are ti es when I guess you would say that's

        11   justifiable, you know, if you --

        12   Q. Well, if it's justifiable -- you have to get past

        13 that hurdle. If it's justifiable or it's legally
        14   excused, it's not a crime at all.

        15   A. Okay.

        16   Q. So, it's only those cases where somebody has been

        17 convicted of that premeditated capital murder that you
        18   ever face those issues.

        19   A. Okay.

        20 Q. And if you sat on the jury, you would have to
        21 listen to enough facts before you could ever get to that
        22 stage; and you would have found a person guilty of that
        23 pre editated capital murder.
        24   A. Okay.

        25 Q. You would then have to go through that second

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         1   phase where someone has been proven to be eligible for

         2 the death penalty with one of those aggravating
         3   circumstances, and you've already crossed that hurdle.

         4               Then you get to the last stage that we've

         5 talked about this orning, and that's the stage where the
         6   government is required to put on aggravating

         7   circumstances. That's so ething that's bad, as they say,

         8   that would cause a person to lean towards the death

         9 penalty. And some folks believe, well, if they get to
        10   that stage, then it's over. That's enough for the death

        11 penalty right there. The law says that you still have to
        12   have an open mind about whether the sentence should be

        13   death or life.

        14               Do you think if you went through those three

        15   stages, you would have your mind made up or would you

        16 still be open to a life or death sentence?
        17   A. I think I could stay open-minded.

        18 Q. Okay. And the law also says at that point you
        19   have to weigh those aggravating circumstances even if

        20 there's no itigating things presented to you and decide
       21 whether a death penalty is sufficient or not. Do you
       22 think you could keep your mind open?
       23 A. I think I could. I think it would be a hard
       24    decision to make.

       25    Q. Okay. Well, it's supposed to be.


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                                                                                   11
          1   A. Yes.


         2 Q. The defense then has the right to put on
         3 mitigating evidence. Do you understand what that is?
         4    A. Yes, sir.

         5 Q. Okay. Is there anything that comes to ind to you
         6 of what would be mitigating in a case like this?
         7    A. Well, from the slideshow earlier, it said, you

         8    know, the childhood circumstances.

         9    Q. Okay. And there's no end to the list of what

        10    people come up with. They talk about the environment --

        11    A. Right.

        12    Q. -- somebody that's grown up in child abuse, social

        13    proble s somebody may have. It's just anything. And

        14    some people don't believe any of that is important, and

        15 they don't want to listen to it at all. But I gather
        16 that's something that you would think would be important
        17 for consideration?
        18    A. I think so. I feel that they -- you know, I just

        19    relate everything to teaching, that, you know, it makes a

        20 difference how a child behaves in my classroo depending
        21 on what happened before he got there, you know, the home
        22    circumstances. It doesn't always excuse a disruptive or

        23 a bad behavior, but it's kind of that I guess you would
        24 say mitigating. Would that be something like that?
        25    Q. Yeah. That's a very good example. Something that


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                                                                                   12
         1   explains the behavior.

         2   A. Okay.

         3   Q. And it's not an excuse for the offense, but it

         4 tells you why these things are happening.
         5   A. Okay.

         6   Q. I know exactly what you're talking about. My wife

         7 just retired from teaching. So, I heard that an awful
         8   lot.

         9               You indicated also that you know a little bit

        10 about gangs in prison?
        11 A. I did?
        12   Q. Well, that's Question 90. It's just a "yes" or

        13   "no" question. So, it doesn't really go into depth.

        14   A. Oh, have you ever heard of gangs? But only like

        15   fro the movies.

        16   Q. Okay.

        17   A. Yeah. It's not a - -

        18 Q. Have you formed any kind of opinions about how
        19 gangs operate or anything like that?
        20   A. Not really, no. I've wondered how they do that

        21   kind of thing once they're in prison, but I guess they do

        22   still socialize so...

        23 Q. Okay. Do you know anything about prison life at
        24 all?
        25   A. No, sir, not real 1y.



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         1   Q. Know anybody that's been inside a prison?

         2   A. None other than a preacher, you know, going in

         3   and . . .



         4 Q. A preacher going in?
         5   A. Well, going in and preaching, you know.

         6   Q. Right. Do you have any personal experience in

         7 that?
         8   A. No, sir.

         9 Q. Do you think that might be a different world that
        10 perhaps most of the general public doesn't know anything
        11 about?
        12   A. I would think so.

        13   Q. Okay. Do you have any questions of me, ma'am?

        14   A. Yes.


        15   Q. Okay.

        16   A. And I don't know -- I'm just going to ask you. If

        17   you're defending someone and you know they're guilty, are

        18   you, by law, still required to defend the ; or can you --

        19 I mean, would you still defend them if you knew they were
        20 gui1ty?
        21   Q. ell, those are personal questions that I probably

        22   wouldn't answer; but I can tell you under --

        23   A. Okay.

        24   Q. -- the law, everyone is presumed to be innocent

        25 and everybody is entitled to counsel, whether they were

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         1   guilty -- not talking about this case. Whether they're

         2 guilty or not guilty, everyone is not guilty unless the
         3   prosecution, either the state or the government, can

         4 prove the guilty beyond a reasonable doubt.
         5   A. Right.

         6 Q. And our Constitution entitles somebody to a
         7   defense. They're not entitled to put on false things,

         8 but they're entitled to have their constitutional rights
         9   protected.

        10   A. Okay.

        11   Q. So, does that help you out a little bit?

        12   A. Yes, sir.

        13   Q. Okay. Thank you.

        14         VOIR DIRE EXAMINATION OF PROSPECTIVE JUROR 66
        15 BY MR. MORROW:
        16   Q. Good morning, Ms. Stanley.

        17   A. Good morning.

        18   Q. Judge told you my na e is Robert Morrow, and

        19 Gerald Bourque and I represent Ricky Fackrell.
       20                 When you first got up there, I thought, oh,

       21 gosh, she talks so softly and she's not going to want to
       22 say very much; but you really got going there pretty
       23    good. Normally we don't get to answer juror's questions

       24 like that. I'm going to get back to that question of
       25    yours. But the example you gave about mitigation about


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          1 children in your classroom, that was very insightful; and
         2 I want to kind of talk about that for a little bit.
         3 Okay?
         4                You and Mr. Barlow talked about mitigation

         5 which might help explain behavior, and your exa ple was
         6   from your classroom. Something bad happened -- no

         7 breakfast, parents fighting -- that might affect how a
         8   child behaves. You've seen that, haven't you?

         9   A. Yes, sir.

        10   Q. What's the worst example of that you've seen in

        11   your experience?

        12                How long you been a teacher?

        13   A. 19 years. I taught adaptive behavior for 3 years,

        14   elementary; and I saw a lot of that from -- because the

        15   children's home lives were from emotionally disturbed,

        16 abuse, and all that kind of stuff. And probably the
        17   worst scenario was just over the holidays, starting all

        18   over with a child after being home in that environment.

        19 I don't have any real specific situation, but it happened
        20   all the time.

        21   Q. The more you had them with you, you had a better

        22 chance to accomplish something and teach them so ething?
        23   A. Yes, sir.

        24   Q. And then when they were away a long time, you had

        25   to start over basically.


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                                                                                   16
         1 A. (Moving head up and down).
         2   Q. Well, that is very interesting. I appreciate your

         3   work. We know that you don't get paid nearly enough for

         4   all you put into it. So, thank you.

         5                 I want to talk about a different kind of

         6 concept of mitigation like that. You ay get mitigation
         7   that explains somebody's conduct, but you also may get

         8 mitigation that just gives you more information about
         9   somebody, how they maybe came to be to where you're

        10   looking at them in court. That doesn't necessarily

        11 explain the conduct but gives you fuller information
        12 about who they are to help you decide an appropriate
        13   punishment.

        14                 Does that seem like a good concept?

        15   A. Yes.


        16   Q. Would you embrace that part as well?

        17   A. I think I could. I think so.

        18 Q. Would that be just as meaningful to you as the
        19 other type of mitigation which might directly explain why
        20 somebody behaved a certain way?
        21   A. I would have to consider it, for sure, yes.

        22 Q. And you would be willing to do that?
        23   A. Yes, sir.

        24   Q. Okay. Another aspect of our case, we have two

        25 defendants here at this table, big table, lots of

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          1   lawyers. But as I think Mr. Bourque has stressed, our

          2   job is to represent Mr. Fackrell; and Mr. Barlow and

         3    Mr. Black represent Mr. Cramer. But you as jurors,

         4 you're going to hear all this infor ation washing over
         5 you at one time; but when you go back to deliberate,
         6 you're going to be asked to separate that out and only
         7    consider what the government did or didn't prove about

         8    Mr. Fackrell or what information we offer and then

         9    separately what Mr. Cramer -- information you have about

        10    him.

        11                Do you think you could do that?

        12    A. I think I -- I would have to try.

        13 Q. Maybe that math background is going to help you a
        14 little bit there?
        15    A. Maybe, yeah.

        16    Q. That's something that really concerns us because

        17    you're going to hear about a whole new environment, about

        18 prison and what life is like in there, and we just worry
        19 that it would be difficult for you to separate those two
        20 things and, so, we want to keep reminding you that at the
        21    end of this process, you know, you're going to be asked

        22 to make an individual judgment. Can you do that?
        23    A. Yes, sir.

        24    Q. Now, let's contrast this service with that -- I

        25    don't know what you want to call it -- sham of a trial


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         1   you were on before, you know, when you walked past the

         2   woman -- was it a woman?

         3   A. Yes.


         4   Q. So, that was not something we're going to make an

         5   excuse for. This is exactly the opposite of that. So,

         6   you're going to be given weeks and weeks of testimony and

         7 you're going to be asked then to go back and deliberate
         8 individually. Did y'all have much deliberation, much
         9 tal k?
        10   A. Not really, no.

        11   Q. We need for you to be able to do that, to talk to

        12   the other jurors; but we also need for you to be able to

        13 vote your individual conscience about what you think the
        14   result should be. You sound like somebody that's going

        15   to insist on doing that.

        16   A. Yes, I think I could -- I would.

        17   Q. Okay. So, you would welcome an opportunity, I

        18 would think, to have the opposite of that last experience
        19 that you had; is that right?
       20    A. Yes.


       21    Q. Okay. Being a teacher for all these              any years,

       22 you're used to making decisions and telling people how to
       23 do their work; but could you respect the other jurors'
       24 decisions if they were different from yours? Could you
       25    understand each of them has to make that same individual


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         1 choice?
         2   A. Yes.


         3   Q. Okay. The idea about this being a prison case,

         4 too, that's the last thing I want to touch on before I
         5 sit back down. This is not going to be something that
         6   you would have heard about before. I ean, you know,

         7   even a T.V. show or something about prison life. And

         8   we're worried that just that one aspect -- you know, this

         9   doesn't take place in a convenience store or a home or --

        10   it's in prison. So, there's a whole different set of

        11   rules and life that you're going to learn about; and we

        12   have to make sure that you're open to that and you

        13   won't -- just by the fact that our client has been

        14   convicted of a crime and is charged with another one, you

        15   won't necessarily start him off so far behind that we're

        16   never going to catch up.

        17                Is that so ething that you think you could do?

        18   A. Yes, sir.

        19 Q. Could you talk to me about that just a little bit?
        20   A. Well, like you said, you have to pick up where

        21   they -- where you start with them. So, rather than have

        22 that preconceived notion that they're already a bad
        23 person and they've just added another thing to their rap
        24   sheet, so, you know, just convict them because of that, I

        25 don't think that would be fair.

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                                                                                   20
         1   Q.     You've dealt with a lot. You've got a lot of

         2   information. You've seen a lot of kids. Do you think

         3   that you could just accept that information and -- and

         4   that's the environment you're going to have to make your

         5   decision in. This is a prison case, and that's -- we

         6 just want to make sure that you can be fair to us with
         7 that being the starting point. Can you?
         8   A. I think I could, yes, sir.

         9 Q. And the last thing I just want to kind of answer
        10 your question just a little bit. Mr. Barlow I think did
        11   a really good job of that. But, you know, for us as

        12   lawyers, we really do honor the rules; and the

        13   presumption of innocence is very important to us. I

        14   think what you're going to find in most cases is, you

        15   know, it's not so much a question of us making a

        16 decision. It's trying to bring both sides of a fact
        17   situation to you. Certain things happened. The events

        18   themselves may not be in dispute. It's how you should

        19   interpret those events. It's a perspective that's

        20   important. You can imagine our clients might have a

       21 different perspective than other people that were
       22    involved in the same events. Do you see what I'm saying?

       23    A. Yes, sir.

       24    Q. So, we take it as a high honor to be able to come

       25 in here and represent someone with their life on the line

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                                                                                   21
         1 and have a chance to tell you what it is that we think is
         2 important about the facts and ask you to consider them
         3   from our perspective; and that's what we do. And the

         4   government does the same thing fro their perspective.

         5   Does that make sense?

         6   A. Yes, sir.

         7   Q. Thank you so much. I appreciate your time.

         8   A. Thank you.

         9          VOIR DIRE EXAMINATION OF PROSPECTIVE JUROR 66
        10 BY MR. CRAFT:
        11   Q. Hel1o, Ms. Stanley.

        12   A. Hi .

        13   Q. I hope you remember my name is John Craft. I'm

        14   one of the three prosecutors in the case.

        15   A. Yes, sir.

        16 Q. You getting combat pay for 7th grade math teacher?
        17   A. No, sir.

        18 Q. I think I can relate at least a little. A million
        19 years ago in the late Cretaceous while I was going
        20 through graduate school the first time, I substitute
        21 taught in middle school. I was selected often not for my
        22 necessary intellect but based on my size. I kept the
        23 school from being burnt down during the day, and I was
        24 popular with the principal.
        25   A. I wouldn't want to be a substitute.


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                                                                                   22
         1   Q. Right. And I thought it was interesting that you

         2   said that you -- and quite naturally so -- look at the

         3 world from your perspective and lengthy perspective as a
         4   teacher.

         5   A. Yes, sir.

         6 Q. So, I wanted to ask you about that a little bit.
         7 I think that's probably a very even-handed way to look at
         8   the world.

         9                I would imagine in your classroo there are

        10   probably super spellers, for lack of a better word. I

        11   mean, they always got their hands in the air; and they're

        12 right up front?
        13   A. Yes.


        14 Q. And then there are probably more diffident
        15   students. I used to call them "C minus ghetto." They

        16   sit in the back, and they're probably not your favorites.

        17   And lucky for me you weren't my 7th grade math teacher

        18   because I hated math and there's a rumor going around

        19 that I might have been fractious in middle school, but
        20   that's just a patent falsehood.

        21                So, let me ask you this question: If one of

        22 your C minus ghetto dwellers came in and didn't have his
        23   assignment and said, Dog ate my ho ework," you might

        24 meet that with some skepticism, right?
        25   A. Right.


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                                                                                   23
         1   Q. How about if there were other facts that supported

         2 that? Maybe you had a YouTube video of Fido actually
         3   eating his homework. aybe that would change your

         4 perhaps negative expectation of that person?
         5   A. Yes.


         6   Q. Well, I wanted to set that as a context for you

         7   because you've heard that there may be so e cooperating

         8   inmate testi ony in this case; and there has been a

         9   suggestion that, well, just can't believe those people

        10   and names have been called. And in fact, the judge is

        11   going to give you an instruction if you're on the jury --

        12   and I'll read it to you -- that you should never

        13   convict -- and this is with regards to accomplice or

        14   informer testimony -- that you, as a juror, should never

        15   convict any defendant upon the unsupported testimony of

        16   such a witness unless you believe that testimony beyond a

        17   reasonable doubt.

        18                So, my question is: Would you be open, as you

        19 were in the case of your C minus ghetto dweller who had
        20 something that you weren't necessarily going to be
        21   receptive to because you've had some experience with him,

        22 going to be open to looking at other facts that might
        23 tend to support that objectively; or would you just throw
        24 out the baby with the bath water and say, "Well, I don't
        25   like inmate testimony" or "I don't like my C minus ghetto


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                                                                                   24
         1   fellow and, so, I'm just not going to listen to what else

         2   he has to say"?

         3   A. No. I'd have to consider it.

         4   Q. So, you'd keep an open           ind?

         5   A. Yes, sir.

         6   Q. All right. I wanted to ask you about your answers

         7   to questions 99 A and B.

         8                And that was your definition of premeditation.

         9   And, of course, you co pleted those answers before you

        10 had the benefit of the instruction that you got from the
        11 attorneys this morning about legally what constitutes
        12   premeditation.

        13                In fact, you said (reading) I think

        14   premeditation would be accompanied by motive, not just a

        15   reaction to immediate situation.

        16                And then you went down in substantial

        17 premeditation, you talked about (reading) substantial
        18 period of time, plenty of evidence to support that.
        19                Do you understand that those things could

        20 happen, pre editation and substantial premeditation,
        21 based on the facts, in a very short period of time?
        22   A. Yes.


        23   Q. And you should further understand that of course

        24   words are expected to have their plain meaning and you'll

        25   get instruction on premeditation, but you may have to


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                                                                                   25
         1 make the judg ent call based on the facts that you've
         2   heard, if you're selected as a juror, what constitutes

         3   substantial and also what constitutes insubstantial. So,

         4   you'll have to make that judgment.

         5                I'll give you an exa ple to see if you see

         6   what I'm talking about here. Let's imagine back when you

         7   were 18 and dating, your om said, "Be home at 11:00

         8   o'clock sharp." I don't know if that ever happened, but

         9   let's just imagine. 11:00 o'clock. 11:00 o'clock comes

        10   and goes. You're not home. You're in the doghouse. But

        11   you walk in the door one minute later. Was that a

        12   substantial or insubstantial deviation from Mom's rules?

        13   A. Insubstantial I think.

        14 Q. Okay. hat if you got to be 30 or 40 inutes
        15   late? Might be bouncing toward the --

        16   A. Substantial.

        17   Q. You see what I'         saying?

        18   A. Yes, sir.

        19 Q. It's a judgment call based on the person aking
        20 that judgment, and you ight be that person if you're
        21 selected for the jury. And you'd make that decision
        22 based on the facts and the events that required you to
        23 make that decision; is that correct?
        24   A. Yes, sir.

        25   Q. Thank you.


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                                                                                   26
         1                MR. CRAFT:     No further questions of this

         2   witness.

         3               THE COURT:      Counsel, are there any questions

         4 for the court?
         5                MR. CRAFT: Not from the government, judge.

         6               MR. MORROW: No, your Honor.

         7                MR. BARLOW: No, your Honor.

         8               THE COURT: All right. Ms. Stanley, we're

         9 finished with respect to this portion of the jury
        10   selection process and your name has been added to the

        11   list of potential jurors, but you may or may not be

        12   selected to serve on the jury. The court's clerk will be

        13   in touch with you with regard to your future obligations.

        14   So, you're excused temporarily; but you're not discharged

        15   from service.

        16               PROSPECTIVE JUROR: Thank you.

        17               THE COURT: Thank you.

        18                (Prospective Juror 66 exits the courtroom.)

        19                (END OF EXCERPT.)
        20
        21 COURT REPORTER'S CERTIFICATION
        22                I HEREBY CERTIFY THAT ON THIS DATE, APRIL 24,
           2018, THE FOREGOING IS A CORRECT TRANSCRIPT FROM THE
        23 RECORD OF PROCEEDINGS.
        24
                                          /s/
        25                              TONYA JACKSON, RPR-CRR


                                  Tonya B. Jackson, RPR-CRR
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